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                   IN THE UNITED STATES DISTRICT COURT
               FOR THE NORTHERN DISTRICT OF WEST VIRGINIA


 UNITED STATES OF AMERICA,

             Plaintiff,

 v.                                         Criminal Action No. 5:08CR22-02
                                                                    (STAMP)
 GERALD ADAMS, III a/k/a GERRY,

             Defendant.


                  ORDER CONFIRMING PRONOUNCED ORDER OF
                     THE COURT AFFIRMING REPORT AND
                   RECOMMENDATION OF MAGISTRATE JUDGE

       On July 30, 2008, the defendant filed a motion to suppress in

 Criminal Action No. 5:08CR22 any phone calls recorded between the

 defendant, his attorney, and any member and/or office staff of the

 attorney’s firm. On July 16, 2008, this Court accepted defendant’s

 plea of guilty to a one-count information in the above-styled

 criminal action.        Thereafter, on July 30, 2008, Magistrate Judge

 James E. Seibert entered a paperless report and recommendation,

 recommending that the motion to suppress be denied as moot because

 of the defendant’s guilty plea.           The plaintiff filed no objections

 to the report and recommendation.             Because the parties did not

 object to the report and recommendation of the magistrate judge,

 and   because    this     Court   found     that   the   magistrate     judge’s

 recommendation     was    not   clearly    erroneous,    the   ruling   of   the

 magistrate judge was hereby AFFIRMED and ADOPTED in its entirety at

 the defendant’s sentencing hearing on September 8, 2008.

       This order is confirming the pronounced order of this Court at

 the defendant’s sentencing hearing on September 8, 2008.
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       IT IS SO ORDERED.

       The Clerk is directed to transmit a copy of this order to the

 defendant, to counsel of record herein, to the United States

 Probation Office and to the United States Marshals Service.

       DATED:      September 9, 2008



                                     /s/ Frederick P. Stamp, Jr.
                                     FREDERICK P. STAMP, JR.
                                     UNITED STATES DISTRICT JUDGE




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